FILED

UNITED STATES DISTRICT COURT U.S. DISTRICT COURT

MIDDLE MISTSECT OF TENN

FOR THE MIDDLE DISTRICT OF TENNESSEE AUG 29 2007

NASHVILLE DIVISION

UNITED STATES OF AMERICA
Vv.

[1] JAMES C. MCWHORTER
a/k/a “CHRIS”
(Counts One and Two)

{2] BEATRICE L. MCWHORTER
a/k/a “LYNN”
(Counts One and Two)

[3] ANTHONY W. KENNEDY
(Counts One and Two)

[4] CHAD E. VINCENT
(Count One) .

[5] CHASTITY A. LEONARD
(Count One)

[6] RONNIE MACK HAMPTON
(Count One)

[7] ROGER T. RAPP
(Count One)

[8] DAVE MAYO, Jr.
(Count One}

[9] SHAWN L. SIMPSON
(Count One)

Neel mer See Sema? Somme” Sart! See? em Smet! Naar mr! Smet! Neue Sie Smet! Name” Semel Naser! nee Some Se See Ne Ne Ne Nee Nae Neh Ne Ne el

INDICTMENT

S DEPUTY GLERK

NO. _3:07-00159_

1i8USC §371
18 U.S.C, § 1028(a)(3)
18 U.S.C. § 1028(b)
1i8USC, 82

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COUNT ONE
THE GRAND JURY CHARGES:
| 1. From on o1 about March 1, 2006 through on or about November 8, 2006, in the

Middle District of Tennessee and elsewhere, [1] JAMES C. MCWHORTER a/k/a “Chris”, [2]
BEATRICE L. MCWHORTER a/k/a “Lynn”, [3] ANTHONY W. KENNEDY, [4] CHAD E.
VINCENT, [5] CHASTITY A. LEONARD, [6] RONNIE MACK HAMPTON, [7] ROGER T,
RAPP, [8] DAVE MAYO, Jr. and [9] SHAWN L. SIMPSON did willfully, knowingly and
unlawfully combine, conspire, confederate, and agree with each other and with others to commit
certain offenses against the United States, including the following:

(a) To knowingly and without lawful authority produce false identification documents, to wit,
. fraudulent driver’s licenses, in violation of Title 18, United States Code, Section 1028(a)(1).

(b) To knowingly possess with the intent to use unlawfully and transfer unlawfully five or
more false identification documents, in violation of Title 18, United States Code, Section 1028(a)(3)

and 1028(b).

(c) Io make, utter and possess, with the intent to deceive, counterfeited securities of a State
and of various organizations, in violation of Title 18, United States Code, Section 513.

Manner and Means

2. It was a part of this conspiracy and the manner and means by which the conspitacy
was sought to be accomplished by [1] JAMES C. MCWHORTER a/k/a “Chris” and his
coconspitators:

(a) To obtain and use computer hardware and software to facilitate the manufacture

of false identification documents such as drivet’s licenses from the states of Tennessee and Florida;

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(b) To obtain and use computer printers specially equipped for the printing of
identification documents such as driver’s licenses and identification cards;

(c) To obtain and use materials required to manufacture false identification
documents, such as blank plastic cards, heat seals and plastic cutters;

(d} To take the digital photographs of several individuals staged to appear as if the
photos wete official drivet’s license photographs, and to affix these photos to the fraudulent drivet’s
licenses printed with false names and addresses;

(c) To obtain and use materials required to manufacture counterfeit payioll checks,
such as computer software for check writing, blank check stock printing paper, and electronic logos
and payroll check designs for various businesses, corporations and government entities;

(f) To produce counterfeit payroll checks fiaudulently issued to false names matching
the false names printed on the fraudulent driver’s licenses; and

(g) To recruit numerous individuals to pass, utter and cash the counterfeit payroll
checks at numerous businesses in the Middle District of Tennessee, using the fraudulent driver’s

licenses to enable the cashing of the counterfeit payroll checks.

Overt Acts
3. In furtherance of this conspiracy, and to effect the objects and purposes thereof,
various overt acts were committed by [1] JAMES C. MCWHORTER a/k/a “Chris” and his
coconspiators within the Middle District of Tennessee and elsewhere, including but not limited to

the following:

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(a) Between on or about March 1, 2006 and on or about November 8, 2006, [1]
JAMES C. MCWHORTER and his coconspirators acquired materials necessary for the production
of false identification documents, to include blank plastic identification cards, computer hardware,
digital cameras, computer check-writing software, driver’s license templates, plastic cutting devices,
heat seals, blank check stock paper, printers and electronic versions of the commercial check logos
for a vatiety of businesses

(b) On or about July 16, 2006, [3] ANTHONY KENNEDY purchased an
identification card printer on Ebay for $1,100.

(c) Between on o1 about Match 1, 2006 and on or about November 8, 2006, [1]
JAMES C. MCWHORTER and his coconspitatots produced hundreds of false identification
documents, to wit, fraudulent driver’s licenses from various states, to include Tennessee and Florida;

(d) Between on or about March 1, 2006 and on ot about November 8, 2006, [1]
JAMES C, MCWHORTER and his coconspirators produced hundreds of counterfeit payroll
checks falsely purporting to be issued by numerous businesses, corporations, and government

entities

(ce) Between on or about March 1, 2006 and on or about November 8, 2006, using
counterfeit driver’s licenses when proof of identification was requited to cash fraudulent checks, [1]
JAMES C. MCWHORTER and his coconspirators passed, uttered and cashed hundreds of
counterfeit payroll checks worth over $200,000.

All in violation of Title 18, United States Code, Section 371.

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COUNT TWO
THE GRAND JURY FURTHER CHARGES:

From on or about March 1, 2006 through on or about November 8, 2006, in the Middle
District of Tennessee and elsewhere, [1] JAMES C. MCWHORTER akk/a “Chris”, [2]
BEATRICE L. MCWHORTER a/k/a “Lynn”, and [3] ANTHONY W. KENNEDY did
knowingly possess with the intent to use unlawfully and to transfer unlawfully five o1 more false

identification documents, to wit, fraudulent driver’s licenses.

In violation of Title 18, United States Code, Sections 1028(a)(3), 1028(b)(1) and 2.

A TRUE BILL

 

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PAUL M. O’BRIEN
UNITED STATES ATTORNEY

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COURTNEY D. TROMBLY
ASSISTANT UNITED STATES ATTORNEY

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